Case 2:10-md-02179-CJB-DPC Document 25850 Filed 07/08/19 Page 1 of 3
In The United States District Court Eastern District of Louisiana
In the oil spill by the oil rig MDL.2179 deepwater horizon in th

e Gulf of Mexico, on April 20, 2010 section j This documents re
lates to Judge Barbier This document relates to mas judge wilki

cases and order to show cause.

MOTION

Céme now plaintiff Richard McBride In the name of Je ci
bmited it motion in good faith and show cause. Why i calieiay
SHOULD NOT BECAUSE In the intrests of justice. Richard mcbr epg PLEVINS
unresolved claim in litigation for puntiwe damage K

1
The plaintiff Richard Mcbride file numerous law sue agaist

B.P oil spill et.al with the Gccif deepwater horizon claim, admin
istrator, wrongfully denied my claim. plaintiff complete and sumb
it the appropriate claémtform,.

Opt out all applicate law under settlement program. File sperate
lawsuit court order in the United States District CourtEastern
District of Lougssiana each lawsuit under separate jurdical and
entity the plaintiff was incompliance with all PTO 60, 64.

PTO 63. plaintiff was a member of the new class and old class

Mcbride claim body injury,chemical exposure damages vessel
damage,land damage,captain of the boat claim deck,hand claim phys
cally dmmage by the oil spill,4-20-2010 vehicle damge sea food
claim,shrimping,damage of personal property,subsistence claim

not paid,legal issuse unresolved claim in litigation for punitive
damage, this could have wrongfully, mistakenly deny my claim, all
my claim ofr lawsuit was well grounded and rooted in facts, and
stated a claim agaisnt B.P oil spill and lawer file a reply

one side claim administrator wrongfully- mistakenly i plaintiff n
ever or, did nok recevive a copy of B.P. reply or statement

Why non-compliant i richard McBride opposedaall B.P. non- complia
nt. (OPA) Oi1 pollution act. and general maritime law B.P.

liability under these laws B.P. is non-compliant to richard Mcbri
de. , ~

2

Richard McBride claims are not banned by the individual throughtt
he court Appointed “Neutrials process

rthe court appointed neutais process never settement therefore

he is not mcbride have not release not one of hist claim
as a mater of law

Fee
pees PFO COGS seen
Xx... Dktd
wom CtRMDEp
—_we DOG. NO.

Case 2:10-md-02179-CJB-DPC Document 25850 Filed 07/08/19 Page 2 of 3
Page 2

power house church of god holy ghost power and member -

richard mcbride part own and ceo of the buness

pastor of the church on part organization and non -pprofit

have aseparte juridical entity this settlenent was sing by richa
mcbride in his office capacity and my job cpapcity

my nane was not on the check

4
rico mcbride did individual releases reached a settle ment
agreements part own queen ester commercial fishing the queen e

esther is separate juridical entit and or . .
ganization

rico mcbribe was buying the queen esther boat from richard mcbri
bouth part own working the commercial fishing

rico mcbride is my son richard mcbride is his dad i did sing se
settlement agreement in my job capacity and office capcity
my nane was not on the check as for bouth

5

i richard mcbride request tha this court consolidation all
richard mcbride case for i can get afair settlement case
number 18-cv-11190-j -2 all these for all these unresolved claim
the case should not be closed

Case 2:10-md-02179-CJB-DPC Document 25850 Filed 07/08/19 Page 3 of 3

CERTIFICATE OF SERVICE

I RICHARD MCBRIDE HEREBY.EERTIFY THAT I HAVE HAND DELIVERED

OR MAILD., ATRUE AND CORRED COPY TO THE DEFENBANTS NOTICE

OF COURT INTENT TO CLOSE CASE AND ORDER TO SHOW CAUSE DATE @$ DAY
JUNE ,@)!(.

OFFICE OF THE CLERK
{UNITED DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

%)) POYDRAS STREET NEW ORLENS &)!#)

@, BP COUNSEL ATTN.
ANDREW LANGAN KIRKLAND

AND ELLS LLP #)) NORTH

LASALLE ST SUIT eon P. GOO
CHICAGO IL ¢gaeB boob oo

